Case 5:19-cv-00537-CAS-SHK Document 1-2 Filed 03/25/19 Page 1 of 1 Page |D #:24

SUPER|OR COUR`T OF CALlFORNiA, COUNTY OF R`|VERSiDE

 

 

 

 

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NiORENO VALLEY 13800 Heacocl< St., Ste. D201,
i\/ioreno \/aliey, CA 92553 R1_025
ATTORNEY OR PARTY V\/iTl~iOUT ATTORNEY (Nan’lé‘. State Ear Ntm'iber and Address) FOR COURT USE ONLY
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ATTor<NEY rca pva/ney BEVERLY ROSALES T' Davls
nri.a oF case RosALES vs. AMAZoN ET AL. By Fax
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AMENDMENTTO [>‘<_'J co1viP1_AiNT 511 cRoss compLAiNT

 

FlCT|TIOUS NAi\/ll':' (No order required)

Upon filing the complaint * herein, plaintiff(s)* being ignorant of the true name of a defendant and having designated

said defendant in the complaint by the fictitious name of DOE 1 and having

discovered the true name of the said defendant to be
Amazcn.com Services, lnc.

 

hereby amends the complaint by inserting such true name in place and stead of such fictitious name vvherever it
appears in said complaint ' '

  

2/19 2019 SANFORD A. KZ-\SSEL
1oATE) 1TYPE on PRiNr NAME or _Z§ ATTORNEY _ PARTY 11/1A1<11\1o oecLARATroN>

 

(S|GNATURE)

iNCORRECT NAl\/IE (Requires order thereon)
P|aintiff(s)* having designated a defendant in the complaint* by the incorrect name of

 

 

and having discovered the true name of the said defendant to be ‘

 

hereby amends the complaint by inserting such true name in place and stead of such incorrect name vvherever it
appears in said complaint

 

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- ORDER
Proper cause appearing plaintiff(s)* allowed to file the aboveamendment to the compiaint.*

 

 

 

(DATE) (JUDGE OF THE SUPER|OR COURT)

*Complaint can also mean a cross-complaint Plaintiff means a person Who files a complaint or cross~compiaint (C.C.P. 426.10).

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